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1    LAW OFFICES OF CHRIS COSCA
     CHRISthCOSCA        CA SBN 144546
2    1007 7 Street, Suite 210
     Sacramento, CA 95814
3    (916) 440-1010
4    Attorney for Defendant
     JUSTIN NONOGUCHI
5

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8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        )   2: 11-CR-00190 MCE
                                                      )
13                   Plaintiff,                       )   WAIVER OF DEFENDANT JUSTIN
                                                      )   NONOGUCHI’S APPEARANCE AND
14          vs.                                       )   ORDER
                                                      )
15   JUSTIN NONOGUCHI,                                )
                                                      )
16                                                    )
                                                      )
17                   Defendant.                       )
                                                      )
18                                                    )

19

20
            Defendant JUSTIN NONOGUCHI hereby waives his right to be personally present in
     open court for the hearing of any status conference, motion or other proceeding in this case,
21
     except that he will agree to be personally present for any plea, sentencing or jury trial, and he
22

23
     agrees to be personally present in court when so ordered.

24
            Defendant JUSTIN NONOGUCHI hereby requests the court to proceed in his absence.

25
     Defendant agrees that his interests will be deemed represented at all times by the presence of
     his undersigned attorney, the same as if he were personally present. Defendant further agrees to
26
     be present in court ready for trial on any date set by the court in his absence.
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28
            Defendant further acknowledges that he has been informed of his rights under the



                                    Waiver of Defendant’s Appearance
                                            USA v. Nonoguchi
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1    Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and he has authorized his
2    undersigned attorney to set times for hearings and to agree to delays under the provisions of the
3    Speedy Trial Act without him being personally present.
4

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6
     Dated: November 5, 2012                              Respectfully submitted,
7

8

9                                                         /s/ Justin Nonoguchi__________________
                                                          JUSTIN NONOGUCHI
10
                                                          Defendant
11

12
                                                          _/s/ Chris Cosca ___________________
13
                                                          CHRIS COSCA
14                                                        Attorney for Defendant,
                                                          JUSTIN NONOGUCHI
15

16
                                                 ORDER
17
     IT IS SO ORDERD.
18

19

20   Dated: November 7, 2012

21                                            __________________________________
22
                                              MORRISON C. ENGLAND, JR
                                              UNITED STATES DISTRICT JUDGE
     DEAC_Signat ure-END:




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                                   Waiver of Defendant’s Appearance
                                           USA v. Nonoguchi
